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B 2102A (Form 2102A) (12/37)



                         UNITED STATES BANKRUPTCY COURT
                                              Southern District
                                            __________          of Mississippi
                                                         District  Of __________

In re ________________________________,
      Alfrino Brown                                                                               Case No. ________________
                                                                                                           14-02022




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.
U.S. Bank Trust National Association, as Trustee of
the Igloo Series II Trust
______________________________________                                      Rushmore Loan Management Services
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known): 10
should be sent:                                                             Amount of Claim: 88,313.70
C/O SN Servicing Corp.                                                      Date Claim Filed: 10/31/2014
323 5th Street
Eureka, CA 95501

Phone: ______________________________
       800-603-0836                                                         Phone:
Last Four Digits of Acct #: ______________
                            4853                                            Last Four Digits of Acct. #: __________
                                                                                                         2732


Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________                                       Date:____________________________
                                                                                 03/29/2016
       Transferee/Transferees Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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B2100B (Form 2100B) (12/15)

                    United States Bankruptcy Court
                    Southern
                    _______________             Mississippi
                                    District Of _______________

      Alfrino Brown
In re ______________________________                   14-02022
                                     """""""" Case No. ________________
      ______________________________
    "______________________________"


     NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
            10-1 (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
Claim No. _____
alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
Other than for Security in the clerks office of this court on ______ (date).



Name of Alleged Transferor
Rushmore Loan Management                                                    Name of Transferee
Services                                                                     U.S. Bank Trust National
                                                                             Association, as Trustee of
                                                                             the Igloo Series II Trust
Address of Alleged Transferor:
P.O. Box 55004                                                              Address of Transferee:
Irvine, California 92619-2708                                                c/o SN Servicing Corporation
                                                                             323 5th Street
                                                                             Eureka, CA 95501

                              ~~DEADLINE TO OBJECT TO TRANSFER~~
The alleged transferor of the claim is hereby notified that objections must be filed with the court
within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
court, the transferee will be substituted as the original claimant without further order of the court.




Date:_________                                                ______________________________
                                                                CLERK OF THE COURT
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                            CERTIFICATE OF SERVICE

                STATE OF CALIFORNIA, COUNTY OF HUMBOLDT

       I, Megan M. Lynch, certify that I am a resident of the County aforesaid; I am over

the age of 18 years and not a party to the within action; my business address is 323 Fifth

Street, Eureka, California 95501.

       On March 29th 2016, I served the within TRANSFER OF CLAIM OTHER

THAN FOR SECURITY AND NOTICE OF TRANSFER OF CLAIM OTHER THAN

FOR SECURITY on all interested parties in this proceeding by placing a true and correct

copy thereof enclosed in a sealed envelope with postage prepaid in the United States mail

at Eureka, California, addressed as follows:

ALFRINO BROWN
PO Box 10061
Jackson, MS 39286

Harold J. Barkley T1, Jr.
P.O. Box 4476
Jackson, MS 39296-4476

Robert Rex McRaney, Jr.
PO Drawer 1397
Clinton, MS 39060

       I certify under penalty of perjury that the foregoing is true and correct.

       Executed on March 29th 2016, at Eureka, California.

                                               /s/ Megan M. Lynch
                                               Megan M. Lynch
